Case 2:15-cv-01631-JRG-RSP Document 30 Filed 03/10/16 Page 1 of 1 PageID #: 134




                             UNITED STATES DISTRICT COURT FOR
                              THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

      DISPLAY TECHNOLOGIES, LLC,

                           Plaintiff,
                                                       Civil Action No. 2:15-cv-1631-JRG-JRP
                    v.
                                                            CONSOLIDATED LEAD CASE
      RICOH AMERICAS CORPORATION, et
      al.,

                           Defendants.


                                        ORDER OF DISMISSAL

            Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant Ricoh

     Americas Corporation’s (“Defendant”) (collectively, the “Parties”), Joint Motion to Dismiss

     Defendant (the “Motion”).
 .
            The Court, having considered the Parties’ Motion, finds that the Motion should be

     GRANTED.

            IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

     against Defendant are dismissed WITH prejudice.

            IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s claims in this action

     against Plaintiff are dismissed WITHOUT prejudice.

            IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and all

     attorneys’ fees.
             SIGNED this 3rd day of January, 2012.
           SIGNED this 10th day of March, 2016.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE
